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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

UNILOC USA, INC. and UNILOC                     )
LUXEMBOURG, S.A.,                               )
                                                )
                      Plaintiffs,               )
                                                )
               v.                               )   C.A. No. 17-1658 (CFC)
                                                )
MOTOROLA MOBILITY, LLC,                         )
                                                )
                      Defendant.                )

          MOTOROLA MOBILITY, LLC’S MOTION TO STAY PENDING
      RESOLUTION OF MOTION TO SUBSTITUTE AND MOTION TO DISMISS

       Defendant Motorola Mobility, LLC (“Motorola”), by and through its counsel,

respectfully moves the Court to stay this litigation pending the resolution of Motorola’s Motion

to Dismiss Uniloc’s Amended Complaint (D.I. 56–58), and Plaintiffs’ Motion to Substitute

Uniloc 2017 LLC as Plaintiff (D.I. 50). As explained in the accompanying brief, the requested

relief should be granted to avoid unnecessary burden on the Court and the parties.
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January 7, 2019




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                                 RULE 7.1.1 CERTIFICATE

       Pursuant to D. Del. LR 7.1.1, the undersigned hereby certifies that lead and Delaware

counsel for Defendant conferred with lead and Delaware counsel for Plaintiffs via telephone and

Plaintiffs oppose this motion.


                                               /s/ Jeremy A. Tigan
                                               Jeremy A. Tigan (#5239)
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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2019, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on January 7,

2019, upon the following in the manner indicated:

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